        Case 3:19-cv-01930-PAD            Document 5        Filed 09/27/19      Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


      UNITED STATES OF AMERICA,
                Plaintiff
                                                      CIVIL NO.: 19-
                         v.

        FUNDS IN THE AMOUNT OF
    $53,082,824.19.00 IN U.S. CURRENCY,
     CONTAINED IN THE FOLLOWING
    ACCOUNTS UNDER THE NAME OF
   BANCO SAN JUAN INTERNATIONAL:
       a) xxx-x7689 – MERRILL LYNCH
            ADDRESS: #15 SECOND ST.,
            SUITE 210, GUAYNABO, PR
            00968, UP TO $10,000,000.00;

        b) xxx-x7059 – MERRILL LYNCH
            ADDRESS: 225 LIBERTY ST.,
           41ST FL, NEW YORK, NY 10281,
              UP TO $5,000,000.00; AND

       c) FEDERAL RESERVE BANK OF
          NEW YORK ACCOUNT # xxxx-
           x228-6, UP TO $38,082,824.19,

                     Defendant



     UNITED STATES’ MOTION TO STAY CIVIL FORFEITURE PROCEEDINGS

TO THE HONORABLE COURT:

       COMES NOW, plaintiff, the United States of America, by and through its undersigned

attorneys, seeks a stay of the civil forfeiture proceedings in the above-entitled case, for the reasons

set forth below:

       1.      A Verified Complaint for Forfeiture In Rem by the United States of America has

                                                  1
        Case 3:19-cv-01930-PAD            Document 5        Filed 09/27/19      Page 2 of 4




been filed for the forfeiture of property in the instant case.

        2.      The civil action in rem is brought to enforce the provisions of Title 18, United States

Code, Sections 981(a)(1)(A)(C); 984; 1005; 1343; 1344 and 1956(a)(2)(A).

        3.      In the meantime, the agencies, the Immigration and Customs Enforcement,

Homeland Security Investigations (“ICE-HSI”) and the Federal Bureau of Investigation (“FBI”)

have informed that there is an ongoing criminal investigation related to potential claimants.

        4.      Title 18, United States Code, Section 981(g)(1) states: “Upon the motion of the

United States, the Court shall stay the civil forfeiture proceedings if the court determines that civil

discovery will adversely affect the ability of the Government to conduct a related criminal

investigation or the prosecution of a related criminal case.”

        5.      Without disclosing subjects or names of individuals, or specific overt conduct, so

as not to compromise an ongoing investigation, the United States hereby requests that this case be

stayed for at least 120 days, that is, until January 24, 2020, given the ongoing criminal

investigation. A stay in this civil forfeiture proceeding is necessary to avoid any prejudice to the

ongoing criminal investigation.

        6.      Should the Court deem an update necessary, the United States can inform the Court

on the particular details of the investigation and its updated stage via an ex parte motion. In

addition, within those initial 120 days the United States will update the Court whether it is

necessary to request the stay for an additional period of time, or if the stay should be lifted.

        7.      Therefore, the United States respectfully requests that the civil forfeiture

proceedings be stayed for 120 days, so as not to compromise an ongoing investigation.

        8.      It is in the public’s best interest to foster law enforcement, ensuring that criminal

due process is justly dispensed.


                                                   2
        Case 3:19-cv-01930-PAD           Document 5        Filed 09/27/19      Page 3 of 4




        9.     It is well established that courts have the discretion to stay proceedings in one suit

until a decision has been made in another involving the same parties. See Landis v. North American

Co., 299 U.S. 248 (1936); cf. In re Kozeny, 236 F.3d 615, 620 (10th Cir. 2000) (relying on Landis

for district court’s inherent authority to grant stay). Indeed, in Landis, the Supreme Court stated:

               “The power to stay proceedings is incidental to the power inherent
               in every court to control the disposition of the causes on its docket
               with economy of time and effort for itself, for counsel, and for
               litigants.”

Id. at 254. See CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962) (relying on Landis for

authority to grant stay).

       10.     Moreover, a court may stay civil proceedings “when the interests of justice seem to

require such action.” Securities and Exchange Commission v. Dresser Indus., Inc., 628 F.2d 1368,

1375 (D.C. Cir.) (quoting United States v. Kordel, 397 U.S. 1, 12 n. 27 (1969), cert. denied, 449

U.S. 993 (1980)); see also Kashi v. Gratsos, 790 F.2d 1050, 1057 (2nd Cir. 1986). Before granting

a stay, a court must consider “the competing interests which will be affected by the granting or

refusal to grant a stay.” CMAX, Inc., 300 F.2d at 268.

       11.     Stays of proceedings are particularly appropriate where the government requests

the stay to avoid conflict with an ongoing criminal investigation. Courts have long recognized the

wisdom of staying civil actions or civil discovery pending the resolution of related criminal

proceedings to avoid the conflict inherent in concurrent proceedings. See United States v. U. S.

Currency, 626 F.2d 11, 17 (6th Cir.), cert. denied sub nom. Gregory v. United States, 449 U.S.

993 (1980); Wehling v. Columbia Broadcasting System, 608 F.2d 1084, 1089 (5th Cir. 1979),

reh’g denied, 611 F.2d 1026 (5th Cir. 1980); see also In re Eisenberg, 654 F.2d 1107 (5th Cir.

1981); Campbell v. Eastland, 307 F.2d 478 (5th Cir. 1962), cert. denied, 371 U.S. 955 (1963);

United States v. Pinnacle Quest Intern., 2008 WL 4274498 (N.D. Fla. 2008) (“it is unquestioned
                                                  3
         Case 3:19-cv-01930-PAD          Document 5       Filed 09/27/19      Page 4 of 4




that this court has the power to stay a civil proceeding due to an active, parallel criminal

investigation.”).

        12.    Finally, judicial economy will be served by allowing the criminal investigation to

conclude since it may also allow for resolution of disputed issues in this civil proceeding.

Accordingly, it will promote judicial economy and reduce litigation, time and expense to stay the

civil case.

        WHEREFORE, the United States of America respectfully requests from this Honorable

Court the civil forfeiture proceedings be stayed for 120 days (until January 24, 2020), so as not to

compromise an ongoing criminal investigation, pending a status update by the Government.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 27th day of September 2019.

                                                     ROSA EMILIA RODRIGUEZ-VELEZ
                                                     United States Attorney

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